 Case 4:22-cv-00343-Y Document 40 Filed 09/15/22   Page 1 of 1 PageID 1028


                IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                         FORT WORTH DIVISION


ROBERT (BOB) ROSS                   §
                                    §
VS.                                 §      ACTION NO. 4:22-CV-343-Y
                                    §
ASSOCIATION OF PROFESSIONAL         §
FLIGHT ATTENDANTS, ET AL.           §

      ORDER GRANTING MOTION FOR LEAVE TO FILE AMENDED RESPONSE

      Pending before the Court is Plaintiff's Motion for Leave to File

Late Response/Amended Response (doc. 36).            The certificate of

conference to the motion indicates that the motion is unopposed.

As a result, and after review of the motion, the Court concludes that

it should be and hereby is GRANTED.       Plaintiff's Amended Response

to Defendants' Motion to Dismiss Plaintiff's Claims for Relief is

DEEMED filed this same day, and the clerk of the Court is DIRECTED

to file a copy of the second amended response, which was attached

as electronic exhibits 7-11 to the motion for leave. See N.D. Tex.

L. Civ. R. 15.1(b).

      Defendants shall have until October 5, 2022, to file a reply

to Plaintiff's Amended Response.

      SIGNED September 15, 2022.

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                                        TERRY R. MEANS
                                        UNITED STATES DISTRICT JUDGE
